      Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 1 of 40


                                                            THE HONORABLE JAMES L. ROBART
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                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 9

10    CALIFORNIA EXPANDED METAL                     CASE NO. 2:18−cv−00659−JLR
      PRODUCTS COMPANY, a California
11    corporation; and CLARKWESTERN                 PLAINTIFFS’ TRIAL BRIEF
      DIETRICH BUILDING SYSTEMS LLC,
12    dba CLARKDIETRICH BUILDING
      SYSTEMS, an Ohio limited liability
13    company,                                      The Honorable James L. Robart
                                                    Courtroom 14106
14                          Plaintiffs,
              v.
15
      JAMES A. KLEIN, an individual;
16    BLAZEFRAME INDUSTRIES, LTD., a
      Washington company; and SAFTI-SEAL,
17    INC., a Washington company,

18                          Defendants.

19

20

21
             Plaintiffs California Expanded Metal Products Company (“CEMCO”) and Clarkwestern
22

23   Dietrich Building Systems LLC (“ClarkDietrich”) (together, “Plaintiffs”) respectfully submit this

24   Trial Brief for the jury trial beginning on December 9, 2019.
25

26

27
      PLAINTIFFS’ TRIAL BRIEF
                                                                               TROJAN LAW OFFICES
28    CASE No. 2:18−cv−00659−JLR
                                                                          9250 WILSHIRE BLVD , STE 325
                                                                            BEVERLY HILLS, CA 90212
                                                                          310 777 8399 FAX: 310 777 8348
                                               Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 2 of 40


                                                                                                   Table of Contents
                                      1
                                                                                                                                                                                    PAGE
                                      2
                                          I.       Introduction.......................................................................................................................... 1
                                      3
                                          II.      Statement of Facts................................................................................................................ 3
                                      4
                                                   A.         Brief Overview of Patents ....................................................................................... 3
                                      5

                                      6            B.         The SAFTI-SEAL Products ..................................................................................... 4

                                      7                       1.         The Benefits of the Patented Products ....................................................... 10
                                      8                       2.         ClarkDietrich’s History with the BlazeFrame Products ............................ 11
                                      9
                                                                         a.          The License Agreements ............................................................... 11
                                     10
                                                                         b.          ClarkDietrich Built the Market for the Patented
                                     11                                              Products ......................................................................................... 12
                                     12                       3.         ClarkDietrich and CEMCO Have Been Harmed by
                                                                         SaftiSeal ..................................................................................................... 13
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14                                  a.          The Market for Intumescent Track Products is
                                                                                     Limited to Three Players ............................................................... 13
                                     15
                                                                         b.          ClarkDietrich is Losing Sales Because of
                                     16                                              SaftiSeal’s Infringement ................................................................ 14
                                     17
                                                   C.         Procedural Summary ............................................................................................. 16
                                     18
                                          III.     Claims Plaintiffs Will Pursue at Trial ................................................................................ 17
                                     19
                                                   A.         Direct Patent Infringement by Safti-Seal ............................................................... 17
                                     20
                                     21            B.         Induced Patent Infringement by Defendants Safti-Seal and Klein ........................ 19

                                     22            C.         Contributory Patent Infringement by Defendants Safti-Seal and
                                                              Klein ...................................................................................................................... 21
                                     23
                                                   D.         Damages ................................................................................................................ 22
                                     24
                                     25                       1.         ClarkDietrich and CEMCO are Entitled to Lost Profits ............................ 22

                                     26                                  a.          There was Demand for the Patented Products ............................... 23
                                     27                                  b.          There is an Absence of Acceptable Non-infringing
                                                                                     Substitutes ...................................................................................... 24
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                                             -i-
                                          CASE No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 3 of 40



                                      1
                                                                       c.          ClarkDietrich has the Necessary Marketing and
                                      2                                            Manufacturing Capacity ................................................................ 26

                                      3                                d.          ClarkDietrich’s Lost Profits are Quantifiable ................................ 27
                                      4                     2.         Alternatively, ClarkDietrich and CEMCO are Entitled to a
                                                                       Reasonable Royalty ................................................................................... 27
                                      5

                                      6           E.        Willful Patent Infringement ................................................................................... 28

                                      7           F.        Exceptional Case Standard .................................................................................... 30
                                      8   IV.     Defendants’ Affirmative Defenses .................................................................................... 31
                                      9
                                                  A.        Direct, Contributory, and Induced Infringement Affirmative
                                     10                     Defenses are Improper ........................................................................................... 31

                                     11           B.        Failure to Join Affirmative Defense Is Not Supported by Facts ........................... 31
                                     12           C.        Failure of Causation Affirmative Defense Is Not Supported by
                                                            Facts ....................................................................................................................... 31
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   V.      Conclusion and Relief Requested ...................................................................................... 32

                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                                           -ii-
                                          CASE No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 4 of 40


                                                                                               Table of Authorities
                                      1

                                      2   Cases                                                                                                                        PAGE(S)
                                          Amer. Seating Co. v. USSC Grp.,
                                      3
                                                 514 F.3d 1262 (Fed. Cir. 2008) ............................................................................. 22-23, 24
                                      4
                                          Amstar Corp. v. Envirotech Corp.,
                                      5         823 F.2d 1538 (Fed. Cir. 1987) ......................................................................................... 22
                                      6   DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc.,
                                                567 F.3d 1314 (Fed. Cir. 2009) ......................................................................................... 24
                                      7
                                      8   Epcon Gas Sys., Inc. v. Bauer Compressors, Inc.,
                                                279 F.3d 1022 (Fed. Cir. 2002) ......................................................................................... 20
                                      9
                                          Fiskars, Inc. v. Hunt Mfg.,
                                     10          279 F.3d 1378 (Fed. Cir. 2002) ......................................................................................... 23
                                     11
                                          Fujitsu Ltd. v. Netgear Inc.,
                                     12           620 F.3d 1321 (Fed. Cir. 2010) ......................................................................................... 21
TROJAN LAW OFFICES




                                     13   Georgia Pacific Corp. v. United States Plywood Corp.,
                                                318 F.Supp. 1116 (S.D.N.Y.),
                     BEVERLY HILLS




                                     14         modified by 446 F.2d 295 (2nd Cir. 1971)......................................................................... 28
                                     15
                                          Gyromat Corp. v. Champion Spark Plug Co.,
                                     16        735 F.2d 549 (Fed. Cir. 1984) ........................................................................................... 24

                                     17   Halo Electronics, Inc. v. Pulse Electronics, Inc.,
                                                 136 S. Ct. 1923 (2016) ....................................................................................................... 28
                                     18
                                     19   K-2 Corp. v. Salomon S.A.,
                                                191 F.3d 1356 (Fed. Cir. 1999) ......................................................................................... 17
                                     20
                                          Manville Sales Corp. v. Paramount Sys., Inc.,
                                     21          917 F.2d 544 (Fed. Cir. 1990) ........................................................................................... 19
                                     22
                                          Minnesota Min. & Mfg. Co. v. Chemque, Inc.,
                                     23         303 F.3d 1294 (Fed. Cir. 2002) ......................................................................................... 20

                                     24   Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
                                                572 U.S. 545 (2014)........................................................................................................... 30
                                     25
                                          Orthokinetics, Inc. v. Safety Travel Chairs, Inc.,
                                     26
                                                 806 F.2d 1565 (Fed. Cir. 1986) ......................................................................................... 19
                                     27
                                          Panduit Corp. v. Stahlin Bros. Fibre Works, Inc.,
                                     28           575 F.2d 1152 (6th Cir. 1978) ..................................................................................... 23, 27
                                          PLAINTIFFS’ TRIAL BRIEF                            -iii-
                                          CASE No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 5 of 40



                                      1
                                          Paper Converting Mach. Co. v. Magna-Graphics Corp.,
                                      2         745 F.2d 11 (Fed. Cir. 1984) ............................................................................................. 27

                                      3   Powell v. Home Depot U.S.A., Inc.,
                                                 663 F.3d 1221 (Fed. Cir. 2011) ......................................................................................... 28
                                      4
                                          Presidio Components, Inc. v. Am. Tech. Ceramics Corp.,
                                      5
                                                 875 F.3d 1369 (Fed. Cir. 2017) ................................................................................... 24, 26
                                      6
                                          Sensonics, Inc. v. Aerosonic Corp.,
                                      7          81 F.3d 1566 (Fed. Cir. 1996) ........................................................................................... 25
                                      8   State Indus., Inc. v. Mor-Flo Indus., Inc.,
                                      9           883 F.2d 1573 (Fed. Cir. 1989) ......................................................................................... 27

                                     10   TWM Mfg. v. Dura Corp.,
                                               789 F.2d 895 (Fed. Cir. 1986) ........................................................................................... 27
                                     11
                                          Wechsler v. Macke Int’l Trade, Inc.,
                                     12         486 F.3d 1286 (Fed. Cir. 2007) ......................................................................................... 22
TROJAN LAW OFFICES




                                     13
                                          Wordtech Sys., Inc v. Integrated Networks Sols., Inc.,
                     BEVERLY HILLS




                                     14         609 F.3d 1308 (Fed. Cir. 2010) ......................................................................................... 21

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                                     24
                                     25
                                     26
                                     27
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                                      -iv-
                                          CASE No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 6 of 40


                                          Rules                                                                                                                                 PAGE
                                      1
                                          35 U.S.C. § 271(b) ................................................................................................................... 19, 20
                                      2
                                          35 U.S.C. § 284.............................................................................................................................. 27
                                      3
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                                          PLAINTIFFS’ TRIAL BRIEF                                             -v-
                                          CASE No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 7 of 40


                                                                                    I.      Introduction
                                      1

                                      2             Plaintiffs and Defendants James A. Klein (“Klein”) and BlazeFrame Industries Ltd.

                                      3   (“BlazeFrame Ind.”) are all too familiar with each other, as this is the third lawsuit involving these
                                      4   parties. All prior disputes involve the asserted patents related to track products and wall assemblies
                                      5
                                          that are designed to impede the spread of smoke and fire using an intumescent strip. This entire
                                      6
                                          matter can be boiled down to the simple fact that Defendants infringe, or induce infringement of,
                                      7
                                          the asserted patents despite previously selling the technology CEMCO to resolve the prior disputes.
                                      8

                                      9             The first litigation between these four parties resulted in a settlement agreement for the sale

                                     10   of six Patents covering the patented technology to CEMCO for                       and certain royalties.

                                     11   CEMCO licensed this technology to Plaintiff ClarkDietrich and also permitted Klein and
                                     12   BlazeFrame Ind. to continue to sell the track products covered by the patented technology in a
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                                     13
                                          restricted six-state territory. In turn, Klein and BlazeFrame Ind. ignored these restrictions which
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                                     14
                                          caused the second litigation.
                                     15
                                                    The second litigation resulted in yet another settlement agreement. This time Klein and
                                     16

                                     17   BlazeFrame Ind. sold their BlazeFrame trademarks to ClarkDietrich and agreed to cease making

                                     18   and selling track products covered by the six patents previously sold to CEMCO. This should have

                                     19   been the end of the dispute between these four parties, but yet again, Klein ignored the agreement
                                     20
                                          and continues to sell the patented track products under a new company, Safti-Seal, Inc. (“Safti-
                                     21
                                          Seal”).
                                     22
                                                    Now during the third litigation between the parties, Defendants Klein, BlazeFrame Ind., and
                                     23
                                          Safti-Seal (together, “Defendants”) still infringe the asserted patents and cause others to infringe
                                     24

                                     25   under the guise of making and selling “new” products that include the “Safti-Strip” designed to

                                     26   circumvent the very patents they sold off. Defendants continue to do so even after the Court
                                     27   explicitly found that “[n]evertheless, the court finds that, as a matter of law, the Safti-Strip tape
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                           -1-                             TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                   9250 WILSHIRE BLVD , STE 325
                                                                                                                         BEVERLY HILLS, CA 90212
                                                                                                                       310 777 8399 FAX: 310 777 8348
                                              Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 8 of 40


                                          affixed to the accused metal track products is an “intumescent strip” within the meaning of the
                                      1

                                      2   Patents” during summary judgment (Dkt. #117 at 19:8-10.) Defendants were forewarned of the

                                      3   Court’s conclusion during claim construction when the Court concluded earlier in the case on April
                                      4   17, 2019 that “intumescent strip” means “a strip that comprises a substance that expands when
                                      5
                                          exposed to heat” and found that “[t]his construction makes clear that the intumescent strip need not
                                      6
                                          include only an intumescent substance. It is also broad enough to encompass preferred
                                      7
                                          embodiments in which the strip consists of a composition containing an intumescent substance,
                                      8

                                      9   where that composition lies atop a non-intumescent substrate.” (Dkt. #98 at 19:9-14.)

                                     10           Not only do Defendants infringe the patents, they have taken unreasonable litigation

                                     11   positions1 including Defendants’ contention that Court excluded all of Plaintiffs’ direct
                                     12   infringement claims. As the Court clarified, “Defendants’ conclusion that the second portion of
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                                     13
                                          the court’s order on the remaining claim elements ‘ruled that no claim for literal infringement by
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                                     14
                                          any track product remains in the case’ (see Resp. at 5-8) is not reasonable.” (Dkt. #134 at 5:4-6.)
                                     15
                                                  Based on the foregoing, Defendants should pay Plaintiffs’ lost profits, or at a minimum, a
                                     16

                                     17   reasonable royalty, for their direct, contributory, and induced infringement of the asserted patents

                                     18   now owned by CEMCO and licensed by ClarkDietrich. Additionally, Defendants should be

                                     19   enjoined from making and selling the patented SaftifFrame track products and SaftiStrip products
                                     20
                                          for any use in a track or wall assembly, as they have already been contractually required to do so.
                                     21
                                          Lastly, because Defendants’ infringement was willful (as of either the Court’s claim construction
                                     22
                                          order on April 14 or on August 14, 2019 after the Court’s summary judgment order), this is an
                                     23
                                          exceptional case of warranting an award of enhanced damages and attorneys’ fees to Plaintiffs.
                                     24

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                                            Defendants’ arguments were rejected on numerous occasions, including Defendants’ invalidity
                                     26
                                          arguments (regarding patents Klein and BlazeFrame Ind. previously owned and assigned away)
                                     27   and inequitable conduct before the United States Patent and Trademark Office in prosecuting
                                          their own patents. The Court struck these affirmative defenses under assignor estoppel theories.
                                     28   (Dkt. #91.)
                                          PLAINTIFFS’ TRIAL BRIEF                        -2-                         TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                              9250 WILSHIRE BLVD , STE 325
                                                                                                                    BEVERLY HILLS, CA 90212
                                                                                                                  310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 9 of 40


                                                                               II.     Statement of Facts
                                      1

                                      2   A.      Brief Overview of Patents

                                      3           Klein is the sole named inventor of U.S. Patents 7,681,365 (“the ’365 Patent”), 7,814,718
                                      4   (“the ’718 Patent”), 7,866,108 (“the ‘108 Patent”), 8,056,293 (“the ’293 Patent”), 8,136,314 (“the
                                      5
                                          ’314 Patent”), and 8,151,526 (“the ’526 Patent”). Klein assigned these patents to his company
                                      6
                                          BlazeFrame Ind. BlazeFrame Ind. made and sold track products under these patents (referred to as
                                      7
                                          “the BlazeFrame® products”).
                                      8

                                      9           The technology at issue in these patents relates to wall assemblies used in the construction

                                     10   of buildings to seal wall construction joints and gaps. A wall assembly includes a horizontal track

                                     11   that is typically made of metal and mounted to a ceiling or floor so that vertical studs can be inserted
                                     12   vertically to frame a wall as depicted below.
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                                     13
                                          Head-of-Wall Assembly                      Fig. 1 of the ’365 Patent
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                                                  The track product is commonly a “U”-shaped track, defined by a web and two side flanges
                                     22
                                          (also referred to as “sidewalls”) that form an upside down “U” shape.
                                     23
                                                  The patents are directed to fire-prevention wall products that prevent smoke and fire from
                                     24

                                     25   spreading from one side of the wall to the other. The patents all claim either track or wall assemblies

                                     26   having an intumescent strip attached on a sidewall of the metal track, which expands in a fire to
                                     27   seal the gap between the track product and the ceiling to prevent the spread of smoke and fire.
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                          -3-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 10 of 40


                                                  The following patents are at issue in this case: the ’365 Patent, the ’718 Patent, the ’314
                                      1

                                      2   Patent, the ’526 Patent (the “Asserted Patents”). While all claims are at issue in this case, the

                                      3   following independent claims are representative: (1) Claims 1 and 6 of the ’314 Patent and claim
                                      4   12 of the ’718 Patent (directed to track products with slots with an intumescent strip affixed on the
                                      5
                                          track product); and (2) Claim 1 of the ’365 Patent, claim 1 of the ’718 Patent, and claim 1 of the
                                      6
                                          ’526 Patent (directed to the complete wall assembly with an intumescent strip affixed to the track
                                      7
                                          product).
                                      8

                                      9   B.      The SAFTI-SEAL Products

                                     10           Though patent infringement is to be determined by comparing the accused SAFTI-SEAL

                                     11   products to the asserted patents, it is worth noting that the SAFTI-SEAL track products are virtually
                                     12   the same as the BlazeFrame® track products (previously sold by Klein, BlazeFrame, and
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                                     13
                                          ClarkDietrich, but now exclusively made and sold by ClarkDietrich). As Defendants themselves
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                                     14
                                          note, the only difference is that the SAFTI-SEAL track products include an additional “thermal
                                     15
                                          barrier”:
                                     16

                                     17                    Plaintiffs and Defendants thus both apply competing fire safety
                                                           strips onto metal header tracks. Plaintiffs’ product is an intumescent
                                     18                    strip in the form of a self-adhering ‘tape’ (commercially available in
                                                           rolls from Rectorseal under the tradename BlazeSeal), whereas
                                     19                    Defendants’ product is also a tape product but, unlike Plaintiffs’, it
                                                           consists of an intumescent material glued onto a strip of a thermal
                                     20                    insulating material (thermal barrier).
                                     21
                                          (Defs’ Mot. at 14:3-8.)
                                     22
                                                  More particularly, the SAFTI-SEAL track products use the same metal track products as
                                     23
                                          the BlazeFrame® track products. SAFTI-SEAL has UL approvals for all of the same track profiles
                                     24

                                     25   that ClarkDietrich sells as part of its BlazeFrame products. Thus, SAFTI-SEAL has sold, and sells,

                                     26   SAFTI-FRAME products with the same track profles, and SAFTI-STRIP for use with the same
                                     27

                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                          -4-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 11 of 40
                                            Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 12 of 40


                                            PS13 – SaftiFrame “VT” (Vertical
                                      1

                                      2     Joint) profiles with two solid legs

                                      3

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                                     11                                                 2 - Series (Fire Stop Both Sides)
                                                                                                        (W)
                                     12
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                                                                                   2.00"                                    2.00"
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                                     16U
                                            PS36
                                            9 (5th – iSaftiFrame
                                                       ion) CAN Bottom
                                                                 ULC S1 of Wall
                                     17

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                                           PLAINTIFFS’ TRIAL BRIEF                -6-                           TROJAN LAW OFFICES
                                           CASE No. 2:18−cv−00659−JLR                                      9250 WILSHIRE BLVD , STE 325
                                                                                                             BEVERLY HILLS, CA 90212
                                                                                                           310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 13 of 40


                                           PS10 – SaftiFrame “ODL” (Offset
                                      1

                                      2    Deep Leg) Profiles with two offset

                                      3    solid legs
                                      4

                                      5

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                                      8    PS11 – SaftiFrame “ODSL” (Offset

                                      9    Slotted Leg) Profiles with two offset
                                     10    slotted lower legs
                                     11

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                                     14

                                     15
                                           PS12 – SaftiFrame “OJR” (Offset J-
                                     16

                                     17    Runner) with one 2” and one 3” solid

                                     18    legs
                                     19

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                                          PLAINTIFFS’ TRIAL BRIEF                  -7-                 TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                              9250 WILSHIRE BLVD , STE 325
                                                                                                    BEVERLY HILLS, CA 90212
                                                                                                  310 777 8399 FAX: 310 777 8348
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 14 of 40
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 15 of 40


                                           PS19 – SaftiSeal “RCD” (Deep Leg
                                      1

                                      2    Track     Profile)    to    Accommodate

                                      3    Resilient Channel
                                      4

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                                     15            The SAFTI-SEAL track products also use the same intumescent material as the

                                     16   BlazeFrame® track products. The location of the intumescent material on the sidewall of the track
                                     17   product (as opposed to another part of the track product) is the same. Defendants’ own photographs
                                     18
                                          show just how similar the two products are:
                                     19
                                                         BlazeFrame Track product                         Safti Seal Track product
                                     20

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                                          PLAINTIFFS’ TRIAL BRIEF                       -9-                           TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                             9250 WILSHIRE BLVD , STE 325
                                                                                                                   BEVERLY HILLS, CA 90212
                                                                                                                 310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 16 of 40


                                                  In short, the only difference between these products is the “thermal barrier.”
                                      1

                                      2           SaftiSeal started selling the accused products as soon as it went into business in 2017. As
                                      3   the named inventor, and assignor, of the Asserted Patents, Klein knew the patents well and
                                      4   understood what their claims covered. Damages accrue from the opening of SaftiSeal, i.e.,
                                      5   September 1, 2017. No Defendant has suggested otherwise.
                                      6           C.       The Patented BlazeFrame ProductsClarkDietrich is the exclusive licensee of the
                                      7   Asserted Patents. As such, it has the sole right to practice the patented inventions claimed in those
                                      8   patents, and exercises those rights by making and selling the BlazeFrame products. The patented
                                      9   BlazeFrame products consist of a generally U-shaped metal track, which can be in the shape of
                                     10   one of numerous profiles, with an intumescent strip attached to the side leg or legs of the
                                     11   generally U-shaped track. These BlazeFrame products are used by contractors to fabricate fire-
                                     12   rated wall assemblies typically when building a multi-story building. The BlazeFrame products
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                                     13   can be used at the top of the wall as a “header” track, or at the bottom of the wall as a “footer.”
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                                     14           1. The Benefits of the Patented Products
                                     15

                                     16           Among the fire protection provided in buildings is passive fire stopping. Such “passive”
                                     17   fire stopping does not actively suppress a fire, but rather prevents or slows the spread of fire.
                                     18   Before the development of the patented BlazeFrame products, such passive fire stopping products
                                     19   used at the top and bottom of walls were predominantly intumescent caulk and mineral wool.
                                     20   They were applied after the metal wall framing was installed and before the dry wall was applied.
                                     21   Because they were applied separately, different tradesmen with different skills were hired just for
                                     22   the fireproofing task.
                                     23           The Asserted Patents provide the ability to install passive fire-proofing without a separate,
                                     24   additional step of applying caulk and/or mineral wool. With the BlazeFrame products, the
                                     25   intumescent material is shipped to the construction site already factory applied to the track
                                     26   product. That track and fire-stopping material is then installed in a single step. Applying the
                                     27   intumescent to the track in the factory ensures that the intumescent is securely adhered to a clean
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                                          PLAINTIFFS’ TRIAL BRIEF                        -10-                             TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 17 of 40



                                      1   steel surface under environmental conditions that ensure better adhesion and that the proper
                                      2   amount of intumescent is provided to a given area of track. UL’s inspectors regularly inspect
                                      3   ClarkDietrich’s numerous facilities where it manufactures the BlazeFrame products to ensure
                                      4   ClarkDietrich maintains its rigorous quality control over this application process.
                                      5           2. ClarkDietrich’s History with the BlazeFrame Products
                                      6                    a. The License Agreements
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                                          PLAINTIFFS’ TRIAL BRIEF                       -11-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                               9250 WILSHIRE BLVD , STE 325
                                                                                                                     BEVERLY HILLS, CA 90212
                                                                                                                   310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 18 of 40



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                                      9                    b. ClarkDietrich Built the Market for the Patented Products
                                     10           Since 2012, ClarkDietrich has invested millions of dollars in building product recognition
                                     11   and acceptance particularly among architects, who specify the method of fire-proofing for a
                                     12   particular wall assembly. ClarkDietrich has been methodical about its promotional efforts for the
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                                     13   BlazeFrame products. As part of these efforts, it has hosted hundreds of educational sessions with
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                                     14   architects and contractors, teaching them about the benefits of the patented products. When the
                                     15   BlazeFrame products were new to the market, and ClarkDietrich first licensed the products, it
                                     16   spent significant time and resources introducing Jim Klein, the inventor of the BlazeFrame
                                     17   products, to its industry contacts, particularly the architects and contractors, to promote the
                                     18   products.
                                     19           ClarkDietrich also employs teams to review databases listing publicly-bid building
                                     20   projects nationwide, and to scrutinize the construction document specifications, including among
                                     21   other things, the fire-proofing specifications. If this team identifies a project for which the
                                     22   BlazeFrame products have not been specified, a member of the team works with the architect in
                                     23   an attempt to have BlazeFrame products specified as the fire-proofing.
                                     24           ClarkDietrich has used this same process successfully with many of its proprietary
                                     25   products, and it has been equally successful with its BlazeFrame products. A snapshot taken this
                                     26   summer of such a database, known as the Dodge Report, highlights the effectiveness of
                                     27   ClarkDietrich’s efforts. That report showed that among projects that specified intumescent track
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                                          PLAINTIFFS’ TRIAL BRIEF                         -12-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 19 of 40



                                      1   products that provide the same benefits as the patented products (i.e., ClarkDietrich’s
                                      2   BlazeFrame, SaftiSeal products, and CEMCO’s FasTrack products), there were 2343 jobs that
                                      3   specified only BlazeFrame products, 3 jobs that specified only SaftiSeal products, 280 jobs that
                                      4   specified only FasTrack products, 3 jobs that specified both BlazeFrame and SaftiSeal products,
                                      5   427 jobs that specified both BlazeFrame and FasTrack products, 5 jobs that specify both FasTrack
                                      6   and SaftiSeal products, and no jobs that specified all three products. Of the jobs pending at the
                                      7   time of the snapshot, BlazeFrame products were solely specified in about 89% of the jobs.
                                      8

                                      9           With each iteration of the BlazeFrame patent license agreements, ClarkDietrich negotiated
                                     10   a progressively more exclusive ability to sell the patented BlazeFrame products. Having spent so
                                     11   much time and money building the knowledge and acceptance of the BlazeFrame intumescent
                                     12   track products in the market, ClarkDietrich wanted to be the sole beneficiary of its efforts.
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                                     13           3. ClarkDietrich and CEMCO Have Been Harmed by SaftiSeal
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                                     14                    a. The Market for Intumescent Track Products is Limited to Three Players
                                     15           Among passive fire-stopping products, there are three categories: traditional caulk and
                                     16   mineral wool, intumescent track products, and secondary field-applied products. The traditional
                                     17   caulk and mineral wool still dominate the overall industry. However, architects willing to use
                                     18   other methods typically, and consistently, gravitate to one or the other available options. To the
                                     19   extent an architect is willing to entertain a non-traditional passive fire-stopping option, the choice
                                     20   is between intumescent track products or secondary field-applied products. In other words, an
                                     21   architect who is willing to use something other than caulk and/or mineral wool, will typically
                                     22   have a preference for either intumescent track products or secondary field-applied products. Once
                                     23   that choice is made, and contractors are seeking bids to complete a project, it is not likely that a
                                     24   change will be made in the building specification. However, an architect who is comfortable with
                                     25   intumescent track products is more likely to entertain a request to change from, for example,
                                     26   BlazeFrame products to SaftiSeal products because they are viewed as equivalents.
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                                          PLAINTIFFS’ TRIAL BRIEF                         -13-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 20 of 40



                                      1           According to Defendants, the non-traditional market comprises the following products:
                                      2   BlazeFrame products, SaftiSeal products, FasTrack products, Hilti Top Track Seal, STI Track
                                      3   Top Gasket, CEMCO FireGasket, CEMCO HotRod and HotRod XL, CEMCO Deflection Drift
                                      4   Angle, CEMCO FireBead, RectorSeal BlazeFoam, and RectorSeal Track-Safe. The CEMCO
                                      5   products (FasTrack, FireGasket, HotRod, HotRod XL, Deflection Drift Angle, and FireBead) and
                                      6   the RectorSeal products (BlazeFoam and Track-Safe) are each covered by patents owned by
                                      7   CEMCO. The STI product is covered by its patent. Thus, none of these products is an available,
                                      8   non-patented alternative to the Asserted Patents. In addition, ClarkDietrich’s experience is that it
                                      9   rarely competed with either the Hilti or STI products – among other reasons because they do not
                                     10   provide the benefit of the patented products of saving an additional fire-stopping application step.
                                     11           While the SaftiFrame product provides all the benefits of the products covered by the
                                     12   Asserted Patents (and all the benefits of the BlazeFrame products), arguably the SaftiStrip
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                                     13   product does not prevent an additional fire-stopping application step. However, the market sees
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                                     14   SaftiStrip as an intumescent track product and not a secondary-applied product largely because
                                     15   the SaftiSeal UL approvals for its products identify it as such. These UL approvals indicate that
                                     16   SaftiStrip can either be factory-applied (making SaftiFrame) or field-applied. In addition,
                                     17   according to emails betweem Defendants and their customers, and conversations ClarkDietrich
                                     18   has had with its customers, the market views both SaftiFrame and SaftiStrip as a replacement for
                                     19   BlazeFrame. Contractors and architects who have become comfortable with BlazeFrame believe
                                     20   that SaftiFrame and SaftiStrip is a cheaper substitute for the BlazeFrame products.
                                     21                    b. ClarkDietrich is Losing Sales Because of SaftiSeal’s Infringement
                                     22           Since about September 2017 when SaftiSeal entered the market, ClarkDietrich has lost
                                     23   sales of its BlazeFrame products. In 2019, its sales are about            less than they had been
                                     24   the previous year. In general, each year that it has sold BlazeFrame products, ClarkDietrich has
                                     25   seen an increase in sales. However, since the introduction of SaftiSeal’s products, and particularly
                                     26   its SaftiStrip product, ClarkDietrich’s sales have fallen                                 . This decline
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                                          PLAINTIFFS’ TRIAL BRIEF                        -14-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 21 of 40



                                      1   is occurring even though the rest of ClarkDietrich’s business, including its metal track product
                                      2   sales, continue to increase.
                                      3           SaftiSeal’s products are designed to mimic and divert sales from ClarkDietrich’s
                                      4   BlazeFrame products. After ClarkDietrich has worked with architects and contractors to gain
                                      5   acceptance of intumescent track products for a particular job and often had the specifications
                                      6   updated to include BlazeFrame products for passive fire stopping, SaftiSeal and Klein swoop in
                                      7   as the subcontractors are preparing final bids before beginning to build the project and offers a
                                      8   cheaper substitute. SaftiSeal’s sale of intumescent strip (the SaftiStrip) separate from steel track
                                      9   products disrupts ClarkDietrich’s business model of selling intumescent-applied tracks, causing
                                     10   ClarkDietrich lost sales and pricing pressures.
                                     11           If SaftiStrip and SaftiFrame had not appeared in the market, ClarkDietrich would have
                                     12   sold its BlazeFrame patented product for the same jobs SaftiSeal is currently winning. In each
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                                     13   case, ClarkDietrich was selling its BlazeFrame products to be built into fire-rated wall assemblies.
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                                     14   It was not aware there was any other use for the products, and it has no UL approvals for any
                                     15   other use of the products.
                                     16           ClarkDietrich has identified seven specific jobs for two of its long-time BlazeFrame
                                     17   customers (Valley Interiors and Component Assembly) where it quoted BlazeFrame products for
                                     18   certain projects and lost those jobs to SaftiSeal. Plaintiffs have been unable to identify the specific
                                     19   projects among SaftiSeal sales because SaftiSeal claims to be unable to identify specific projects.
                                     20   However, each of these two customers told ClarkDietrich the jobs went to SaftiSeal. In fact,
                                     21   Valley Interior has informed ClarkDietrich that currently it is purchasing only SaftiStrip for its
                                     22   passive fires-stopping needs. Although it continues to sell all its other product lines to both Valley
                                     23   and Component, ClarkDietrich has not quoted BlazeFrame products to either Valley or
                                     24   Component in quite some time.
                                     25           ClarkDietrich has even assisted other long-time BlazeFrame customers such as Anning-
                                     26   Johnson to purchase the correct track profile for use with SaftiStrip. In an effort to assist a valued
                                     27   customer, even though the customer bought from a competitor, ClarkDietrich directed Anning-
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                         -15-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 22 of 40



                                      1   Johnson to the information about the necessary track profile to build a wall assembly on
                                      2   SaftiSeal’s website in accordance with SaftiStrip UL certifications.
                                      3           Finally, SaftiSeal has provided quotations for SaftiSeal products in response to requests
                                      4   for customers seeking “BlazeFrame” and it has shipped SaftiSeal products in response to
                                      5   purchase orders requesting “BlazeFrame.” Clearly, customers see the SaftiSeal products as
                                      6   substitutes for the patented BlazeFrame products.
                                      7

                                      8   C.      Procedural Summary

                                      9           This case was originally filed in the Central District of California, where the prior cases
                                     10   involving these parties were heard before the Hon. Dean D. Pregerson. On May 4, 2018, the case
                                     11
                                          was transferred to this District.
                                     12
                                                  The Court presented its Claim Construction Order on April 17, 2019. In the Claim
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                                     13
                                          Construction Order, the Court construed the following terms: “intumescent strip” to mean “a strip
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                                     14

                                     15   that comprises a substance that expands when exposed to heat”; “affixed lengthwise on at least one

                                     16   of the outer sidewall surfaces” to mean “attached lengthwise, directly or by means of an intervening

                                     17   adhesive, to at least one of the outer sidewall surfaces”; and “inorganic filler” to mean “inorganic
                                     18   filler, including but not limited to perlite, vermiculite, expandable glasses, micas, clay, talc,
                                     19
                                          borosilicates, cokes, charcoals, hard coals, brown coals, calcium carbonate, cereal grains, cork, bark
                                     20
                                          granules, expandable clay, foamed concrete, metal sponge, tuff, and/or lava.”                (Dkt. #98.)
                                     21
                                          Additionally, in the Court’s Order on Summary Judgment, the Court ruled that the Safti-Strip tape
                                     22

                                     23   is an “intumescent strip” as constructed by the Court, and the “intumescent strip” limitation reads

                                     24   onto the Safti-Frame products that include a strip of Safti-Strip tape.

                                     25

                                     26
                                                  Throughout this case, multiple Motions have been filed, including two separate Motions for
                                     27
                                          Summary Judgment, Motions in Limine, and a Motion to Strike. Now that the Court has ruled on
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                                          PLAINTIFFS’ TRIAL BRIEF                        -16-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
                                              Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 23 of 40


                                          these Motions and conducted the Pretrial Conference, the case will proceed to trial on December 9,
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                                      2   2019.

                                      3                                III.    Claims Plaintiffs Will Pursue at Trial
                                      4   A.        Direct Patent Infringement by Safti-Seal
                                      5
                                                    Plaintiffs will prove that Defendant Safti-Seal infringes at least one claim of the Asserted
                                      6
                                          Patents.
                                      7
                                                    As the Federal Circuit teaches, “the court first determines, as a matter of law, the correct
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                                      9   claim scope, and then compares the properly construed claim to the accused device to determine,

                                     10   as a matter of fact, whether all of the claim limitations are present in the accused device, either

                                     11   literally or by a substantial equivalent.” K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1362 (Fed. Cir.
                                     12   1999).
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                                     13
                                                    Here, Plaintiffs will prove that Safti-Seal directly infringes at least one claim of the Asserted
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                                     14
                                          Patents. The Court has already determined, as a matter of law, the correct claim scope of the key
                                     15
                                          claim terms at issue, namely, “intumescent strip” and “affixed . . . on” the track product track.2
                                     16

                                     17   The other limitations of the asserted claims are also present. Each of the tracks in the SaftiFrame

                                     18   products is generally U-shaped. Likewise, each of the UL approvals for SaftiSeal’s SaftiFrame and

                                     19   SaftiStrip products requires a generally U-shaped track to build a wall assembly. Likewise, each
                                     20
                                          example on SaftiSeal’s website and each job for which ClarkDietrich lost sales of its BlazeFrame
                                     21
                                          products require a generally U-shaped track to build a wall assembly.
                                     22
                                                    As a single example, all elements of claim 6 of the ’314 Patent are present in Safti-Seal’s
                                     23
                                          PS7 – SaftiFrame DSL product. Specifically, claim 6 of the ’314 Patent recites:
                                     24

                                     25             “A generally U-shaped sheet-metal track, comprising:
                                                    an elongated web integrally connected to a pair of spaced apart and outwardly
                                     26             extending sidewalls with the web and sidewalls defining a U-shaped profile, each
                                                    sidewall having inner and outer sidewall surfaces, each sidewall having a plurality
                                     27

                                     28   2
                                              See supra at Section II.D.
                                          PLAINTIFFS’ TRIAL BRIEF                           -17-                             TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                    9250 WILSHIRE BLVD , STE 325
                                                                                                                          BEVERLY HILLS, CA 90212
                                                                                                                        310 777 8399 FAX: 310 777 8348
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 24 of 40
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 25 of 40


                                          which recites, in part, the composition of the intumescent strip: “(A) from 5 to 95% by weight of
                                      1

                                      2   expandable graphite; (B) from 1 to 70% by weight of a fire retardant; (C) from 1 to about 50% by

                                      3   weight of an inorganic filler dispersed in an emulsion of polyvinyl acetate or silicone.” (’314
                                      4   Patent, Claim 1.) Safti-Seal directly infringes this claim because U.S. Patent No. 6,207,085, to Eva
                                      5
                                          Ackerman (“the Ackerman Patent”), is “incorporate[d] by reference . . . which covers “heat
                                      6
                                          expandable compositions” that may serve as the intumescent strip claimed in the Patents.” (Dkt.
                                      7
                                          #98 at 12:18-20.) Because the Ackerman Patent teaches the claimed composition, and intumescent
                                      8

                                      9   strip sold by Rectorseal and used by Safti-Seal is covered by the Ackerman Patent, Safti-Seal also

                                     10   infringes the Claim 1 of the ’314 Patent.

                                     11           Based on the foregoing, Plaintiffs have suffered damages as a result of Defendants’
                                     12   infringement of at least one claim of the Asserted Patents by Safti-Seal’s accused products.
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                                     13
                                          B.      Induced Patent Infringement by Defendants Safti-Seal and Klein-
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                                     14
                                                  Plaintiffs will prove that Defendants Klein and Safti-Seal induce third parties to infringe at
                                     15
                                          least one claim of the Asserted Patents.        Additionally, Klein directed Safti-Seal to induce
                                     16

                                     17   infringement of the Asserted Patents, and, thus, Klein is personally liable for the induced

                                     18   infringement of the Asserted Patents. See Orthokinetics, Inc. v. Safety Travel Chairs, Inc., 806

                                     19   F.2d 1565, 1578–79 (Fed. Cir. 1986) (“[I]t is well settled that corporate officers who actively aid
                                     20
                                          and abet their corporation's infringement may be personally liable for inducing infringement under
                                     21
                                          § 271(b) regardless of whether the corporation is the alter ego of the corporate officer.”); see also
                                     22
                                          Manville Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed. Cir. 1990) (noting
                                     23

                                     24   that “corporate officers who actively assist with their corporation’s infringement may be
                                     25   personally liable for inducing infringement regardless of whether the circumstances are such
                                     26
                                          that a court should disregard the corporate entity and pierce the corporate veil.”) (emphasis
                                     27
                                          omitted).
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                                          PLAINTIFFS’ TRIAL BRIEF                        -19-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 26 of 40
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 27 of 40
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 28 of 40


                                                  Here, customers and end-users of the Safti-Strip and Safti-Frame products directly infringe
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                                      2   the Asserted Patents by constructing wall assemblies in accordance with the UL Listings provided

                                      3   by Defendants, which instruct end-users to assemble the assemblies in a directly infringing manner.
                                      4   Klein has knowledge of the Asserted Patents, as he is the inventor of the Asserted Patents as
                                      5
                                          described above.
                                      6
                                                  Furthermore, the Safti-Strip and Safti-Frame products do not have any substantial non-
                                      7
                                          infringing uses, and Klein and Safti-Seal only instructs customers to use the Safti-Frame and Safti-
                                      8

                                      9   Tape products in an infringing way. The Court has even struck evidence from Klein attempting to

                                     10   describe such non-infringing uses. (Dkt. #117 at 13:7-8.) Indeed, the Safti-Strip and Safti-Frame

                                     11   products are critical components for the wall assemblies, which serve to prevent the spread of
                                     12   smoke and fire. This allows the products to be fire-safe in accordance with the UL Listings and
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                                     13
                                          Certifications.
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                                     14
                                                  Plaintiffs have suffered damages as a result of Defendants contributory infringement of the
                                     15
                                          Asserted Patents.
                                     16

                                     17   D.      Damages

                                     18
                                                  1.        ClarkDietrich and CEMCO are Entitled to Lost Profits
                                     19
                                                  A patentee (or in the present case, an exclusive licensee) is entitled to profits it has lost as
                                     20
                                          a result of patent infringement if he can show that, but for the infringement, he would have made
                                     21
                                          the sales made by the accused infringer. Amstar Corp. v. Envirotech Corp., 823 F.2d 1538, 1543
                                     22
                                          (Fed. Cir. 1987). “[T]he availability of lost profits is a question of law for the court, not the jury.”
                                     23
                                          Wechsler v. Macke Int’l Trade, Inc., 486 F.3d 1286, 1293 (Fed. Cir. 2007).
                                     24
                                                  “To prove lost profits from lost sales, the patent owner bears the initial burden to show a
                                     25
                                          reasonable probability that ‘but for’ the infringement, he would have made the sales. Once this
                                     26
                                          reasonable probability is shown, the burden shifts to the infringer to show that the ‘but for’
                                     27
                                          causation analysis is unreasonable under the specific circumstances.” Amer. Seating Co. v. USSC
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                          -22-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                  9250 WILSHIRE BLVD , STE 325
                                                                                                                        BEVERLY HILLS, CA 90212
                                                                                                                      310 777 8399 FAX: 310 777 8348
Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 29 of 40
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 30 of 40



                                      1   The Federal Circuit considers “a substantial number of sales” of infringing products containing
                                      2   the patented features to be, itself, “compelling evidence” of the demand for the patented product.
                                      3   Gyromat Corp. v. Champion Spark Plug Co., 735 F.2d 549, 552 (Fed. Cir. 1984). In addition to
                                      4   SaftiSeal’s “substantial” and increasing sales of the infringing products, its own expert Daniel
                                      5   Lindsay agrees that there is demand for the patented products. In light of the significant sales of
                                      6   patented products by both ClarkDietrich and SaftiSeal, there is no question that there is demand
                                      7   for the patented products. DePuy Spine, Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314,
                                      8   1330 (Fed. Cir. 2009).
                                      9                    b. There is an Absence of Acceptable Non-infringing Substitutes
                                     10           To be an acceptable, non-infringing substitute, a product must have the advantages of the
                                     11   patented invention that were important to people who purchased an alleged infringer’s product.”
                                     12   Am. Seating Co. v. USSC Grp, 514 F.3d 1262, 1270 (Fed. Cir. 2008). The correct inquiry is whether
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                                     13   a non-infringing alternative would be acceptable compared to ClarkDietrich’s patented BlazeFrame
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                                     14   product, not whether it is a substitute for the infringing SaftiSeal product. Presidio Components,
                                     15   Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1381 (Fed. Cir. 2017). The ‘but for’ inquiry
                                     16   therefore requires a reconstruction of the market, as it would have developed absent the infringing
                                     17   product, to determine what sales ClarkDietrich would have made. Id.
                                     18
                                                  A primary benefit of the patented products is that it does not require an additional
                                     19
                                          construction step to apply the fire-stopping intumescent material and that material is applied in a
                                     20
                                          controlled dosage. The only products that provide such benefits are the BlazeFrame products, the
                                     21
                                          SaftiSeal products, and the FasTrack products. Although one could argue that the SaftiStrip, which
                                     22
                                          can be field-applied after the track has been installed, does not provide this step-saving benefit.
                                     23
                                          However, it is marketed as an intumescent track product and its UL approvals permit both factory
                                     24
                                          application and field application (before or after track installation) of the intumescent strip. Thus,
                                     25
                                          the only acceptable non-infringing alternatives to the patented product are the FasTrack products,
                                     26
                                          which themselves are patented. The only, unrebutted evidence is that the FasTrack products have
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                                          PLAINTIFFS’ TRIAL BRIEF                        -24-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 31 of 40



                                      1   about 11% of the market. As such, if SaftiSeal had never be in the market, ClarkDietrich would
                                      2   have made about 89% of the sales of intumescent track products.
                                      3
                                                  The substitutability of SaftiSeal for BlazeFrame is evident from SaftiSeal’s own marketing
                                      4
                                          and customer communications. When SaftiSeal first began, it trumpeted its new SaftiSeal products
                                      5
                                          as a product that can “replace old BlazeFrame.” SaftiFrame and SaftiStrip were positioned as a new
                                      6
                                          version of BlazeFrame.
                                      7

                                      8           ClarkDietrich has provided evidence of specific jobs for which it quoted BlazeFrame for
                                      9   fire-proof wall assemblies, only to lose the jobs to SaftiSeal. Two large customers of ClarkDietrich
                                     10   have not requested a quotation for BlazeFrame for some time, even though they continue to buy
                                     11   other products from ClarkDietrich. One of these customers has told ClarkDietrich that it only
                                     12   purchases SaftiStrip for its passive-fireproofing. In 2019, ClarkDietrich’s sales of BlazeFrame
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                                     13   products fell for the first time in years, even as SaftiSeal products sales increase.
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                                     14
                                                  ClarkDietrich sold its BlazeFrame product only for incorporation into patented wall
                                     15
                                          assemblies. It is more likely than not that the SaftiSeal products are similarly going into such
                                     16
                                          patented wall assemblies. Plaintiffs are unable to identify the type of project for each SaftiSeal sale
                                     17
                                          because Klein and SaftiSeal claim not to keep such records. Any doubts that arise because of the
                                     18
                                          inadequacy of Klein’s or SaftiSeal’s records should be resolved against Defendants and not
                                     19
                                          Plaintiffs. Sensonics, Inc. v. Aerosonic Corp., 81 F.3d 1566, 1572-73 (Fed. Cir. 1996).
                                     20

                                     21           SaftiSeal may argue that the secondary field-applied products are also suitable alternatives
                                     22   to the patented products. As an initial matter, all but two of these products (the Hilti and STI
                                     23   products) are covered by patents owned by plaintiff CEMCO. And the STI patent is covered by
                                     24   STI’s patent. Thus, none of those products are “non-infringing”, freely available substitutes. In
                                     25   addition, none of these products offer the benefits of the patented products. In particular, they each
                                     26   necessitate an additional post-track installation step of inserting a secondarily applied fire-proofing
                                     27   product.
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                         -25-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 32 of 40



                                      1           SaftiSeal also may argue that because its products meet the requirements of the so-called
                                      2   version 5 of the UL fireproofing test with no additional materials required, ClarkDietrich’s
                                      3   BlazeFrame products cannot compete with the SaftiSeal product. However, that is the wrong
                                      4   analysis. The proper question is how would the market have developed absent the introduction of
                                      5   the accused product. Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1381
                                      6   (Fed. Cir. 2017). First, it is unclear whether version 5 is even applicable because the current
                                      7   international building code applies only version 4, or whether it has become an issue only because
                                      8   Klein and SaftiSeal have chosen to emphasize it for marketing purposes. Second, the BlazeFrame
                                      9   products comply with version 5 with the addition of either a generic backer rod or ClarkDietrich’s
                                     10   perimeter L-bead product. In either case, neither product interferes with the benefits of the patented
                                     11   products. Either piece is applied at the same time as the finishing of the wallboard, without the need
                                     12   for an additional installation step or hiring of specialty tradesman, as is true with the traditional
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                                     13   caulk or mineral wool. Thus, absent SaftiSeal’s infringement, the market would have either
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                                     14   continued using UL version 4, or accepted ClarkDietrich’s modified product. Either way, the
                                     15   industry would have continued buying BlazeFrame products.
                                     16
                                                           c. ClarkDietrich has the Necessary Marketing and Manufacturing Capacity
                                     17

                                     18           ClarkDietrich has a nationwide marketing organization that focuses on increasing the
                                     19   opportunities for, among other products, the BlazeFrame products. As shown by its hundreds of
                                     20   educational programs for architects and contractors, and its success as quantified by the thousands
                                     21   of job specifications exemplified in the Dodge Report, if SaftiSeal had not been in the market,
                                     22   ClarkDietrich’s marketing organization could turn opportunities into sales. In fact, ClarkDietrich’s
                                     23   marketing successes have more likely made SaftiSeal’s sales efforts easier – ClarkDietrich has
                                     24   promoted acceptance of intumescent track products and SaftiSeal has capitalized on that growing
                                     25   acceptance. Thus, ClarkDietrich has the marketing capacity to make all sales that SaftiSeal made.
                                     26
                                                  ClarkDietrich’s manufacturing capacity has easily kept pace with its growing BlazeFrame
                                     27
                                          sales. Because it has manufacturing of the patented BlazeFrame products spread across 14 facilities
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                        -26-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 33 of 40



                                      1   throughout the United States, it could easily have increased it output of products without incurring
                                      2   additional expense (other than the cost of the raw materials for the products themselves). Thus,
                                      3   ClarkDietrich easily has the manufacturing capacity to make all sales that SaftiSeal made.
                                      4
                                                           d. ClarkDietrich’s Lost Profits are Quantifiable
                                      5

                                      6           ClarkDietrich’s expert has calculated its lost profits by determining the revenue
                                      7   ClarkDietrich makes per foot of BlazeFrame product sold and subtracting from that figure the
                                      8   amount of additional costs or expenses it would have incurred in making those lost sales. Paper
                                      9   Converting Mach. Co. v. Magna-Graphics Corp., 745 F.2d 11 (Fed. Cir. 1984). She then applied
                                     10   that revenue to 89% of SaftiSeal’s sales (ClarkDietrich’s lost sales resulting from the SaftiFrame
                                     11   and SaftiStrip sales), taking into account that some of the SaftiStrip product is used on a product
                                     12   with intumescent applied to only one side of the track and some is used on a product with
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                                     13   intumescent applied to both sides of the track. She then calculated CEMCO’s lost profits based on
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                                     14   its lost royalty revenues from ClarkDietrich. The result is that ClarkDietrich has lost profits of
                                     15                     dollars and CEMCO has lost profits of                       dollars. For the 11% of
                                     16   SaftiSeal sales for which the Plaintiffs are not seeking lost profits, ClarkDietrich is also entitled to
                                     17                and CEMCO is also entitled to               in reasonable royalties (both calculated at
                                     18         /foot of SaftiSeal product). State Indus., Inc. v. Mor-Flo Indus., Inc., 883 F.2d 1573, 1577
                                     19   (Fed. Cir. 1989)(stating that “the award may be split between lost profits as actual damages to the
                                     20   extent they are proven and a reasonable royalty for the remainder.”).
                                     21
                                                  2.       Alternatively, ClarkDietrich and CEMCO are Entitled to a Reasonable Royalty
                                     22

                                     23           A patentee is entitled to no less than a reasonably royalty. 35 U.S.C. §284. A reasonable
                                     24   royalty is often determined by positing a hypothetical negotiation between a willing licensor of the
                                     25   patent and a willing licensee. Panduit Corp., at 1158-59. “The willing licensee/licensor approach
                                     26   must be flexibly applied as a ‘device in the aid of justice.’” TWM Mfg. v. Dura Corp., 789 F.2d
                                     27   895, 900 (Fed. Cir. 1986). In determining this hypothetically negotiated royalty, courts typically
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                         -27-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 34 of 40



                                      1   look at the relevant circumstances, as captured by what are known as the 15 Georgia Pacific factors.
                                      2   Georgia Pacific Corp. v. United States Plywood Corp., 318 F.Supp. 1116 (S.D.N.Y.), modified by
                                      3   446 F.2d 295 (2nd Cir. 1971). Neither the patentee’s nor the infringer’s net profit margin is a ceiling
                                      4   on a reasonable royalty. Powell v. Home Depot U.S.A., Inc., 663 F.3d 1221, 1238-39 (Fed. Cir.
                                      5   2011).
                                      6
                                                   In the present case, in any hypothetical negotiation, ClarkDietrich would necessarily have
                                      7
                                          to give up its exclusivity in the patented products. It would also want to protect the sizeable
                                      8
                                          investment it has made in the BlazeFrame product line. Finally, it would seek to maintain its
                                      9
                                          preferred product form of factory-assembled intumescent track products sold through channels of
                                     10
                                          distribution. To do so, it would need to discourage sales of SaftiStrip and encourage sales of only
                                     11
                                          SaftiFrame products, and it would seek to minimize the pricing advantage Klein and SaftiSeal enjoy
                                     12
                                          by selling directly to contractors rather than through distributors. Thus, the parties to the
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                                     13
                                          hypothetical negotiation would negotiate a royalty rate that would meet these needs of
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                                     14
                                          ClarkDietrich and CEMCO, and reduce SaftiSeal’s pricing advantages, while still leaving SaftiSeal
                                     15
                                          with some pricing advantage. The resulting reasonable royalty, as explained in greater detail by
                                     16
                                          Plaintiffs’ damages expert is       /ft of SaftiSeal product sold. Thus, if ClarkDietrich and CEMCO
                                     17
                                          are not awarded lost profits as explained above, then ClarkDietrich is entitled to                          in
                                     18
                                          reasonable royalties and CEMCO is entitled to                    in reasonable royalty damages.
                                     19
                                          E.       Willful Patent Infringement
                                     20

                                     21            Plaintiffs will prove that Defendants Klein and Safti-Seal’s conduct was willful, and thus

                                     22   enhanced damages will be proper to deter future infringement of the Asserted Patents by
                                     23   Defendants.
                                     24
                                                   To show that the Patent Infringement was willful, Plaintiffs must first show “by clear and
                                     25
                                          convincing evidence that the infringer acted despite an objectively high likelihood that its actions
                                     26
                                          constituted infringement of a valid patent, without regard to the state of mind of the accused
                                     27

                                     28   infringer.” Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S. Ct. 1923, 1930 (2016) (internal
                                          PLAINTIFFS’ TRIAL BRIEF                         -28-                            TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                 9250 WILSHIRE BLVD , STE 325
                                                                                                                       BEVERLY HILLS, CA 90212
                                                                                                                     310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 35 of 40


                                          quotations omitted). Then Plaintiffs must show, “again by clear and convincing evidence—that the
                                      1

                                      2   risk of infringement was either known or so obvious that it should have been known to the accused

                                      3   infringer.” Id. If both steps are satisfied, then the District Court can exercise its discretion to award
                                      4   enhanced damages. Id.
                                      5
                                                  Here, Defendants clearly made and sold their Safti-Strip and Safti-Frame products despite
                                      6
                                          an objectively high likelihood that they infringed the Asserted Patents. The risk of infringement
                                      7
                                          was objectively high before the litigation began, and has only increased as the litigation progressed.
                                      8

                                      9   Specifically, the Court’s Claim Construction Order significantly raised the risk of infringement

                                     10   based upon the construction of “intumescent strip” and “affixed . . . on,” yet Defendants’ dug in

                                     11   their heels and continued promoting and selling the Accused Products. In fact, sales of the Accused
                                     12   Products have increased significantly in 2019. Then, the risk of infringement grew more after the
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                                     13
                                          Summary Judgment Order specifically ruling that the claimed term “intumescent strip” read onto
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                                     14
                                          the Safti-Strip product. Yet, Defendants continue to make and sell the products which are
                                     15
                                          objectively very likely to infringe the Asserted Patents after two Court orders. If Defendants did
                                     16

                                     17   not willfully infringe the patents after April 17, then they certainly infringed after the Court’s

                                     18   summary judgment order dated August 14.

                                     19           Additionally, the risk of infringement was so obvious or should have been so obvious to
                                     20
                                          Defendants, and specifically Klein, as he was the inventor of the Asserted Patents and knew his
                                     21
                                          simple addition of a “thermal barrier” constituted an obvious risk of infringement. This should
                                     22
                                          have become even more obvious in light of the Claim Construction Order and Summary Judgment
                                     23
                                          Order for the reasons stated above. Yet, Defendants continue promoting and selling the Accused
                                     24

                                     25   Products in light of these facts.

                                     26           Therefore, Plaintiffs should be awarded enhanced damages by the Court due to this willful
                                     27   infringement.
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                         -29-                             TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                  9250 WILSHIRE BLVD , STE 325
                                                                                                                        BEVERLY HILLS, CA 90212
                                                                                                                      310 777 8399 FAX: 310 777 8348
                                              Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 36 of 40


                                          F.        Exceptional Case Standard
                                      1

                                      2             Plaintiffs will prove that this is an exceptional case of Patent Infringement, and thus

                                      3   Plaintiffs’ attorneys’ fees should be paid by Defendants.
                                      4             As stated by the Supreme Court, “an exceptional case is simply one that stands out from
                                      5
                                          others with respect to the substantive strength of a party’s litigating position (considering both the
                                      6
                                          governing law and the facts of the case) or the unreasonable manner in which the case was
                                      7
                                          litigated.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014).
                                      8

                                      9   “District courts may determine whether a case is ‘exceptional’ in the case-by-case exercise of their

                                     10   discretion, considering the totality of the circumstances.” Id.

                                     11             Here, it is important to consider this case should have been settled or disposed of after the
                                     12   Claim Construction Order, and definitely after the Summary Judgment Order essentially ruled that
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                                     13
                                          Defendants’ Safti-Strip and Safti-Frame products read directly onto the only disputed terms of the
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                                     14
                                          Asserted Patents (i.e. “intumescent strip” and “affixed . . . on”). This places Plaintiffs’ position at
                                     15
                                          trial significantly stronger than that of Defendants. Defendants have even attempted to make, in
                                     16

                                     17   the Court’s words, a “nonsensical and disingenuous” interpretation of the Summary Judgment

                                     18   Order, arguing that the Court granted Defendants’ Motion for Summary Judgment on literal

                                     19   infringement, thereby doing away with each and every claim of literal infringement.3
                                     20
                                                    Instead of analyzing the strengths and weaknesses of their litigation positions in light of the
                                     21
                                          Court’s orders, Defendants have needlessly caused Plaintiffs additional attorneys’ fees responding
                                     22
                                          to frivolous arguments, and filing motions to clarify their misguided interpretations of the Court’s
                                     23
                                          clear orders. For example, Defendants’ arguments were rejected on numerous occasions, including
                                     24

                                     25   the Defendant’s invalidity arguments (regarding patents Klein and BlazeFrame Ind. previously

                                     26   owned) and inequitable conduct before the United States Patent and Trademark Office in
                                     27

                                     28   3
                                              See Dkt. #134: Order on Plaintiffs’ Motion for Clarification
                                          PLAINTIFFS’ TRIAL BRIEF                         -30-                              TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                   9250 WILSHIRE BLVD , STE 325
                                                                                                                         BEVERLY HILLS, CA 90212
                                                                                                                       310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 37 of 40


                                          prosecuting his own patents. The Court struck these affirmative defenses under assignor estoppel
                                      1

                                      2   theories. (Dkt. #91.)

                                      3           Lastly, the context of this third litigation involving these parties is critical. Defendants have
                                      4   made it clear that they will go to great lengths to impermissibly practice the very patents they sold
                                      5
                                          to CEMCO. Based on the foregoing, Plaintiffs should be awarded attorneys’ fees as this case is
                                      6
                                          exceptional under the exceptional case standard set forth in Octane Fitness.
                                      7
                                                                       IV.     Defendants’ Affirmative Defenses
                                      8

                                      9           In the Pretrial Order, Defendants outline five “affirmative defenses.”                Specifically,

                                     10   Defendants claim (1) no direct infringement, (2) no contributory infringement, (3) no induced

                                     11   infringement, (4) failure to join, and (5) failure of causation.
                                     12   A.      Direct, Contributory, and Induced Infringement Affirmative Defenses are Improper
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                                     13
                                                  As an initial matter, these are improper affirmative defenses because Plaintiffs carry the
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                                     14
                                          burden of proving infringement. Regardless, Plaintiffs’ positions regarding these issues are set
                                     15
                                          forth above.
                                     16

                                     17   B.      Failure to Join Affirmative Defense Is Not Supported by Facts

                                     18           Defendants contend that Plaintiffs’ claims are barred because the damages caused were the

                                     19   result of actions or non-actions of other parties not named in this lawsuit. However, Defendants
                                     20
                                          fail to point to any specific facts supporting this affirmative defense, and fail to mention any other
                                     21
                                          party which may have caused Plaintiffs’ damages. Therefore, Defendants will be unsuccessful on
                                     22
                                          their defense of failure to join.
                                     23
                                          C.      Failure of Causation Affirmative Defense Is Not Supported by Facts
                                     24

                                     25           Defendants contend that Plaintiffs are not entitled to damages because Plaintiffs’ own

                                     26   conduct proximately caused their damages. However, as with their failure to join defense,
                                     27   Defendants fail to point to any specific evidence that Plaintiffs have somehow caused their own
                                     28
                                          PLAINTIFFS’ TRIAL BRIEF                         -31-                             TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                  9250 WILSHIRE BLVD , STE 325
                                                                                                                        BEVERLY HILLS, CA 90212
                                                                                                                      310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 38 of 40


                                          patent infringement and breach of contract damages.           Instead, Defendants rely upon their
                                      1

                                      2   boilerplate language in their Amended Answer without providing additional facts or circumstances

                                      3   as to why they believe Plaintiffs proximately caused their own damages.
                                      4           Therefore, Defendants will be unsuccessful in their defense of failure of causation.
                                      5
                                                                       V.     Conclusion and Relief Requested
                                      6
                                                  Throughout the litigious history of these Parties, Defendants, and specifically Klein, has
                                      7
                                          sought to practice the very Asserted Patents he sold. After the first dispute, Plaintiffs attempted
                                      8

                                      9   to allow Klein to still practice his patents in a reasonably large territory. However, he chose to

                                     10   ignore the settlement and breached its terms by selling outside his designated territory. Then,

                                     11   Defendants and Klein agreed to leave the marketplace and to stop making and selling the patented
                                     12   products, an agreement he again ignored by adding a “thermal barrier” to his prior products and
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                                     13
                                          selling it under a different name. Based on the foregoing, Defendants must be held liable for their
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                                     14
                                          patent infringement and breach of contract.
                                     15

                                     16

                                     17                                                 Respectfully submitted,
                                                                                        TROJAN LAW OFFICES
                                     18
                                                                                        by
                                     19
                                          December 2, 2019                              /s/ R. Joseph Trojan
                                     20                                                 R. Joseph Trojan (pro hac vice)
                                     21                                                 9250 Wilshire Blvd.
                                                                                        Beverly Hills, CA
                                     22                                                 Attorney for Plaintiff,
                                                                                        CALIFORNIA EXPANDED METAL PRODUCTS
                                     23                                                 COMPANY
                                     24
                                          December 2, 2019                              /s/ Brian G. Bodine
                                     25                                                 Brian G. Bodine (WSBA No. 22414)
                                                                                        LANE POWELL PC
                                     26                                                 1420 Fifth Avenue, Suite 4200
                                     27                                                 Seattle, WA 98111
                                                                                        Telephone: 206-223-7000
                                     28                                                 Attorney for Plaintiff,
                                          PLAINTIFFS’ TRIAL BRIEF                        -32-                        TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                                9250 WILSHIRE BLVD , STE 325
                                                                                                                      BEVERLY HILLS, CA 90212
                                                                                                                    310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 39 of 40


                                                                             CALIFORNIA EXPANDED METAL PRODUCTS
                                      1
                                                                             COMPANY
                                      2
                                          December 2, 2019                   /s/ Ann G. Schoen
                                      3                                      Ann G. Schoen (pro hac vice)
                                                                             FROST BROWN TODD LLC
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                                                                             Cincinnati, OH 45202
                                      5
                                                                             Telephone: 513-651-6128
                                      6                                      Attorney for Plaintiff,
                                                                             CLARKWESTERN DIETRICH BUILDING
                                      7                                      SYSTEMS LLC
                                      8
                                          December 2, 2019                   /s/ Robert J. Carlson
                                      9
                                                                             Robert J. Carlson (WSBA No. 18455)
                                     10                                      LEE & HAYES PLLC
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                                     12                                      Attorney for Plaintiff,
                                                                             CLARKWESTERN DIETRICH BUILDING
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                                     13
                                                                             SYSTEMS LLC
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                                     14

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                                          PLAINTIFFS’ TRIAL BRIEF             -33-                     TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                              9250 WILSHIRE BLVD , STE 325
                                                                                                    BEVERLY HILLS, CA 90212
                                                                                                  310 777 8399 FAX: 310 777 8348
                                           Case 2:18-cv-00659-JLR Document 139 Filed 12/02/19 Page 40 of 40



                                      1                                     CERTIFICATE OF SERVICE
                                      2
                                                  I hereby certify that on the 2nd day of December 2019, I caused to have electronically
                                      3
                                          filed the foregoing with the Clerk of the Court using the CM/ECF system which will send
                                      4
                                          notification of such filing to the following:
                                      5
                                                  tjl@elamburke.com
                                      6
                                                  thomas@seattlepatentlaw.com
                                      7           pbageant@hollystonelaw.com
                                      8
                                      9

                                     10                                                   TROJAN LAW OFFICES

                                     11                                                   by

                                     12                                                   /s/ R. Joseph Trojan
                                                                                          R. Joseph Trojan (pro hac vice)
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                                     13                                                   9250 Wilshire Blvd.
                                                                                          Beverly Hills, CA
                     BEVERLY HILLS




                                     14                                                   Attorney for Plaintiff,
                                     15                                                   CALIFORNIA EXPANDED
                                                                                          METAL PRODUCTS COMPANY
                                     16
                                     17
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                                          PLAINTIFFS’ TRIAL BRIEF                         -34-                         TROJAN LAW OFFICES
                                          CASE No. 2:18−cv−00659−JLR                                              9250 WILSHIRE BLVD., STE 325
                                                                                                                    BEVERLY HILLS, CA 90212
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